                                      UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF OREGON

In re
                                                 )   Case No. 317-31966-DWH13
EDWARD J DUFFY                                   )
                                                 )   Confirmation hearing date: Jul 24, 2017
                                                 )
                                                 )   TRUSTEE’S OBJECTION TO
                                                 )   CONFIRMATION AND MOTION
                                Debtor(s).       )   TO DISMISS

Wayne Godare, the Standing Chapter 13 Trustee Objects to Confirmation of the above case for the reason(s) set out
below:
_____a. Plan is not feasible:

_____b. Case/Plan is not proposed in good faith or is forbidden by law:

_____c. Plan does not commit all of debtor’s excess projected disposable income pursuant to
        11 U.S.C. §1325(b)(1)(B) for the applicable commitment period:

__X__d. Plan does not meet the best interest test of 11 U.S.C. §1325(a)(4): ¶2(g) should be “$136,088”.

__X__e. Filing/documentation is deficient: as requested at the §341(a) hearing, please provide the Trustee with the
following:
1. True signed copy of Debtor’s 2016 Federal and State Tax Returns;
2. Current paystubs from the non-filing spouse sufficient to verify their income and deductions on Schedule I;
3. Bank statements for the accounts listed on Schedule B that include the balance on the day of filing and the
   transactions 30 days before filing;
4. Verification Debtor has registered with TFS;
5. Copy of the CMA’s that were done on the residence;
6. File an Exhibit D2 for the business and attach a copy of schedule C from the prior year’s tax return;
7. The Trustee objects to the claim of exemption ORS § 18.345(1)(b) as it pertains to bicycles and sports
   equipment. Please file an amended schedule C that no longer includes this exemption.

__X__f. Other: as requested at the §341(a) hearing, please make the following changes to the plan:
1. ¶2(b)(1) change the interest rate to “0%” as it pertains to Wells Fargo;
2. ¶2(f)(1) should be changed to approximately “40%”. This change will require an amended plan or in the
   alternative, file a “special notice” to all creditors that ¶2(f)(1) is changed to approximately 40%;
3. ¶10 strike “May 31, 2022” and replace with “June, 2020” and add Kehoe as a secured creditor on the residence.

If within 7 days prior to the scheduled confirmation hearing, debtor fails to take all necessary steps to satisfy each
objection marked above, the Trustee may, in his discretion, urge the court for an order dismissing the case without further
notice.

I certify that on June 26, 2017, copies of the above Objection and Motion were served on the debtor(s) by first class mail
and any debtor(s) attorney by ECF.

DATED: June 26, 2017

                                                                  /s/ Wayne Godare, Trustee
NICHOLAS J HENDERSON
(mn)


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